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                                UNITED STATES DISTRICT COURT                             t12:O7
                                                                              2'I'T3-2
                                 WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION
                                                                                              I    AS

 THE UNITED STATES OF AMERICA                      §

                                                   §
                                                        INDICTMENT
                                                                              029 tv1
  V.

                                                   §

 ANTHONY GALLEGOS,                                 §    18 U.S.C. § 922(o)
                                                   §    18 U.S.C. § 922(n)
         Defendant.                                §    26 U.S.C. § 5861(d)
                                                   §
                                                        Notice of Government's Demand for
                                                        Forfeiture
THE GRAND JURY CHARGES:

                                          COUNT ONE
                                POSSESSION OF A MACHINEGUN
                                       [18 U.S.C. § 922(o)J

       On or about October 24, 2020, in the Western District of Texas, Defendant

                                      ANTHONY GALLEGOS

knowingly possessed a machinegun, that is, a gold-colored "switch" conversion device, a part

designed and intended solely and exclusively for use in converting a weapon into a machinegun,

in violation of 18 U.S.C.   §   922(o) and 924(a)(2).

                                 COUNT TWO
             RECEIPT OF A FIREARM BY PERSON UNDER INDICTMENT
                               [18 U.S.C. § 922(n)]

       On or about October 24, 2020, in the Western District of Texas, Defendant

                                      ANTHONY GALLEGOS

knowing that he was then under indictment for a crime punishable by a term of imprisonment for

a term exceeding one year, to wit, possession of more than four ounces but less than five pounds

of marijuana in violation of Texas Health and Safety Code § 481.121(a)(3), did willfully receive a




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firearm, that is, a Glock ten-millimeter pistol, said firearm having been shipped and transported in

interstate commerce, in violation of 18 U.S.C.      §        922(n) and 924(a)(1)(D).

                                  COUNT THREE
                      POSSESSION OF UNREGISTERED SILENCER
                                          126   U.S.C.   §    5861(d)J

       On or about October 24, 2020, in the Western District of Texas, Defendant

                                        ANTHONY GALLEGOS

knowingly possessed a firearm, to wit, a firearms silencer, not registered to him in the National

Firearms Registration and Transfer Record, in violation of 26 U.S.C.             §   5841, 5861(d), and 5871.

              NOTICE OF GOVERNMENT'S DEMAND FOR FORFEITURE
                           JSee Fed. R. Crim. P. 32.21


                                                        I.

                          Firearm Violations and Forfeiture Statutes
     [Title 18 U.S.C. § 922(o) and (n), subject to forfeiture pursuant to Title 18 U.S.C. §
         924(d)(1), as made applicable to criminal forfeiture by 28 U.S.C. § 2461(c)J
                                                   AND
    [Title 26 U.S.C. § 5861(d), subject to forfeiture pursuant to Title 26 U.S.C. § 5872(a),
              made applicable to criminal forfeiture by Title 28 U.S.C. § 246 1(c)1


       As a result of the foregoing criminal violations, set forth in Counts One, Two, and Three

of this Indictment, the United States of America gives notice to the Defendant of its intent to seek

the forfeiture of property, including the items listed below, upon conviction and as part of

sentencing pursuant to Fed. R. Crim. P. 32.2 and 18 U.S.C.               §   924(d)(1), as made applicable to

criminal forfeiture by 28 U. S.C.   §   2461(c). Section 924 specifically provides, in pertinent part,

the following:

       Title 18 U.S.C. § 924. Penalties
           (d)(1) Any firearm or ammunition involved in or used in any knowing violation of
           subsection (a)(4), (a)(6), (f), (g), (h), (i), (j), or (k) of section 922, or knowing
           importation or bringing into the United States or any possession thereof any firearm or
           ammunition in violation of section 922(l), or knowing violation of section 924, shall be
           subject to seizure and forfeiture under the provisions of this chapter.


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   Title 26 U.S.C. § 5872(a). Forfeitures

       (a) Laws applicable. Any firearm involved in any violation of the provisions of this
       chapter shall be subject tà seizure and forfeiture.

       This Notice for Demand for Forfeiture includes, but is not limited to, the properties
described below in Paragraph II.




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                                              IL
                                          Properties

Glock GMBH, model: 21, .45 caliber, pistol, bearing serial number: UWR3 87;
Glock GMBH, model: 29, 10mm caliber, pistol, bearing serial number: BRUH636;
Beretta, Pietro S .P.A., model: APX, 9mm caliber, pistol, bearing serial number: A08 1 886X;
Glock Conversion Device, gold in color, bearing serial number: NONE;
Silencer, black in color, bearing serial number: NONE;
Ruger, model: Ruger-57, 5.7x28mm caliber, pistol, bearing serial number: 641-62360;
DPMS Inc., model: A15, multi caliber, rifle, bearing serial number: FFH167898;
FNH USA, LLC., model: 509, 9mm caliber, pistol, bearing serial number: GKSO 120703;
American Tactical Imports - AT!, model: Omni Hybrid, multi caliber, rifle, bearing serial
number: NS1 14516;
Sig Sauer, model: P320, .45 caliber, pistol, bearing serial number: 581(052886;
RomarmlCugir, model: WASR- 10, 7.62x39mni caliber, rifle, bearing serial number: Al -52079-
16;
Smith & Wesson, model: 459, 9mm caliber, pistol, bearing serial number: A752509;
Waither, model: P22, .22 caliber, pistol, bearing serial number: 13006749;
                         -
Israel Weapon Industries 1W!, model: Desert Eagle, .44 caliber, pistol, bearing serial number:
30201688;
Remington Arms Company, Inc., model: 870, 12 gauge, shotgun, bearing serial number:
CC70780D;
Intratec, model: TECDC9, 9mm caliber, pistol, bearing serial number: D063 144;
Unknown Manufacturer, model: Unknown, 5.56x45mm caliber, rifle, bearing serial number:
NONE;
Mossberg, model: 500, 12 gauge, shotgun, bearing serial number: T97681 1; and
Any and all firearms, ammunition, and/or accessories involved in or used in the commission of the
criminal offense.




GREGG N. SOFER
UNITED STATES ATTORNEY

BY:    J4
      dEL      COHEN
              U.S. Attorney
      Assistant




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